          Case 2:10-mj-00485-MAT           Document 20       Filed 12/01/10      Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 10-485
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   KIRK RISHOR,                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Methamphetamine; Possession with Intent to

15                         Distribute Methamphetamine; Use of a Communications Facility

16 Date of Detention Hearing:     December 1, 2010

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense the maximum penalty of which




     DETENTION ORDER                                                                       PAGE 1
          Case 2:10-mj-00485-MAT           Document 20        Filed 12/01/10      Page 2 of 3




01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

02 dangerousness and flight risk, under 18 U.S.C. §3142(e).

03          2.      Defendant was released from state custody in June 2010, after serving a 74 month

04 sentence for Assault and Possession of a Firearm. He has a lengthy criminal history that includes

05 weapons charges, VUCSA, fugitive charges, failures to appear or to comply with court orders,

06 robbery, and assault with a deadly weapon. Pretrial Services reports that the defendant is

07 associated with two dates of birth, four Social Security numbers, and at least three alias names.

08          3.      The instant charges involve an allegation that defendant and others were

09 producing methamphetamine and smuggling it into the Washington State Penitentiary in Walla

10 Walla.

11          4.      Taken as a whole, the record does not effectively rebut the presumption that no

12 condition or combination of conditions will reasonably assure the appearance of the defendant

13 as required and the safety of the community.

14 It is therefore ORDERED:

15          (1)     Defendant shall be detained pending trial and committed to the custody of the

16                  Attorney General for confinement in a correction facility separate, to the extent

17                  practicable, from persons awaiting or serving sentences or being held in custody

18                  pending appeal;

19          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

20                  counsel;

21          (3)     On order of a court of the United States or on request of an attorney for the

22                  Government, the person in charge of the corrections facility in which defendant




     DETENTION ORDER                                                                         PAGE 2
        Case 2:10-mj-00485-MAT         Document 20       Filed 12/01/10      Page 3 of 3




01             is confined shall deliver the defendant to a United States Marshal for the purpose

02             of an appearance in connection with a court proceeding; and

03       (4)   The clerk shall direct copies of this Order to counsel for the United States, to

04             counsel for the defendant, to the United States Marshal, and to the United States

05             Pretrial Services Officer.

06       DATED this 1st day of December, 2010.



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08                                           Mary Alice Theiler
                                             United States Magistrate Judge
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     DETENTION ORDER                                                                    PAGE 3
